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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No.: 11-cv-01548-WYD-MEH

   CHARLES NATHAN,

   Plaintiff,

   v.
   PENNCRO ASSOCIATES, INC.,
   a Pennsylvania corporation,
   Defendant.

   ______________________________________________________________________________

         DEFENDANT’S OFFER OF JUDGMENT PURSUANT TO FED.R.CIV.P. 68
   ______________________________________________________________________________


           Pursuant to Rule 68 of the Federal Rules of Civil Procedure, Defendant, Penncro

   Associates, Inc. (“Penncro” or the “Defendant”), by and through its counsel of record, Adam L.

   Plotkin, P.C., hereby offers to allow judgment to be taken against it in favor of Plaintiff Charles

   Nathan, (the “Plaintiff”) as follows:

           1)     Judgment shall be entered in the total amount of One Thousand One Dollars

   ($1,001), as against Penncro;

           2)     In addition, Plaintiff’s costs and reasonable attorneys’ fees now accrued are to be

   added to the judgment as against Penncro; said fees and costs shall be as are agreed to between

   counsel for the parties, or if they are unable to agree, as determined by the Court upon motion;

           3)     The judgment entered in accordance with this Offer of Judgment is to be in total

   settlement of any and all claims by Plaintiff Charles Nathan against Penncro and said judgment

   shall have no effect whatsoever except in settlement of those claims; and,
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             4)     This Offer of Judgment is made solely for the purposes specified in Rule 68 of the

   Federal Rules of Civil Procedure, and is not to be construed either as an admission that Penncro

   is liable in this action, or that Plaintiff Charles Nathan has suffered any damage. All liability is

   denied.

             In accordance with Rule 68 of the Federal Rules of Civil Procedure, if this Offer of

   Judgment is not accepted by Plaintiff Charles Nathan within fourteen (14) days after service of

   this Offer of Judgment, this Offer of Judgment shall be deemed withdrawn and any evidence of

   this Offer of Judgment will be inadmissible except in any proceeding to recover costs.

             In accordance with Rule 68 of the Federal Rules of Civil Procedure, if this Offer of

   Judgment is not accepted by Plaintiff Charles Nathan and any judgment finally obtained by

   Plaintiff Charles Nathan is not more favorable than this Offer of Judgment, Plaintiff Charles

   Nathan must pay all costs incurred by Penncro after the making of this Offer of Judgment.


             DATED this 6th day of July, 2011.


                                                         Respectfully submitted,
                                                         Adam L. Plotkin, P.C.

                                                         /s/ Steven J. Wienczkowski
                                                 By:     _____________________________
                                                         Steven J. Wienczkowski, Esq.
                                                         621 Seventeenth Avenue, Suite 1800
                                                         Denver, Colorado 802933
                                                         Telephone: (303) 382-0528
                                                         FAX: (303) 296-3544
                                                         swienczkowski@alp-pc.com
                                                         Attorneys for Defendant




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                                      Certificate of Service

               I hereby certify that on July 6, 2011, the foregoing, DEFENDANT’S OFFER OF
   JUDGMENT PURSUANT TO FED.R.CIV.P. 68 was electronically mailed to counsel for
   Plaintiff and a copy of same was placed in the U.S. Mail, postage prepaid, addressed to the
   following:

   David M. Larson, Esq.
   Larson Law Offices
   405 S. Cascade Avenue, Suite 305
   Colorado Springs, CO 80903
   larsonlawoffice@gmail.com


                                                    /s/Steven J. Wienczkowski
                                             By:    _____________________________
                                                    Steven J. Wienczkowski, Esq.




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